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                     Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
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                 Form ADR-Cert rev. 1-15-2019
